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                                                                                                                                                                      UNITED STATES DISTRICT COURT
                                                                                                                                                                      EASTERN DISTRICT OF MICHIGAN
                                                                                                                                                                           SOUTHERN DIVISION
                                                                                                                                                                          _______________________
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                                                                                                                                                   JEFFREY FRANZ and BRANDI FRANZ, as
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                                                                                                                                                   NEXT FRIEND For RILEY FRANZ, a Minor,
                                                                                                                                                   and JEFFREY FRANZ and BRANDI FRANZ,
                                                                                                                                                   as NEXT FRIEND For BELLA FRANZ, a
                                                                                                                                                   Minor,
                                                                                                                                                                                    Case No.:
                                                                                                                                                         Plaintiffs,                Hon.

                                                                                                                                                   Vs.

                                                                                                                                                   OXFORD COMMUNITY SCHOOL DISTRICT,
                                                                                                                                                   SUPERINTENDENT TIMOTHY THRONE,
                                                                                                                                                   PRINCIPAL STEVEN WOLF, DEAN OF
                                                                                                                                                   STUDENTS RYAN MOORE, COUNSELOR
FIEGER, FIEGER, KENNEY & HARRINGTON, P.C.




                                                                                                                                                   #1, COUNSELOR #2, STAFF MEMBER,
                                                                                                                                                   TEACHER #1 and TEACHER #2
                                                                                                                                                   In their Individual Capacity,

                                                                                                                                                       Defendants.
                                                                                                                                                   GEOFFREY N. FIEGER (P30441)
                                                                                                                                                   JAMES J. HARRINGTON (P65351)
                                                                                                                                                   ROBERT G. KAMENEC (P35283)
                                                                                                                                                   NORA Y. HANNA (P80067)
                                                                                                                                                   MILICA FILIPOVIC (P80189)
                                                                                                                                                   Fieger, Fieger, Kenney & Harrington, P.C.
                                                                                                                                                   Attorneys for Plaintiffs
                                                                                                                                                   19390 West Ten Mile Road
                                                                                                                                                   Southfield, MI 48075
                                                                                                                                                   P: (248) 355-5555
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                                                                                                                                                   n.hanna@fiegerlaw.com
                                                                                                                                                   m.filipovic@fiegerlaw.com
                                                                                                                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
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                                                                                                                                                         NOW COME Plaintiffs, JEFFREY FRANZ and BRANDI FRANZ, as Next

                                                                                                                                                   Friends of RILEY FRANZ, a Minor and BELLA FRANZ, a Minor, by and through
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                                                                                                                                                   their attorneys, FIEGER, FIEGER, KENNEY & HARRINGTON, P.C., and for
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                                                                                                                                                   Plaintiffs’ Complaint and Jury Demand against the above-named Defendants, state

                                                                                                                                                   as follows:

                                                                                                                                                                                     INTRODUCTION

                                                                                                                                                         On November 30, 2021, horrific events took place at Oxford High School

                                                                                                                                                   which resulted in the slaughter of four (4) high school students and serious gunshot

                                                                                                                                                   and psychological injuries to others. The horror of November 30, 2021 was entirely
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                                                                                                                                                   preventable. Each and every Defendant named herein created and increased the

                                                                                                                                                   dangers then-existing at Oxford High School.

                                                                                                                                                         The individually named Defendants are each responsible through their actions

                                                                                                                                                   for making the student victims less safe. The Oxford High School students, and

                                                                                                                                                   Plaintiffs in particular, would have been safer had the Individual Defendants not

                                                                                                                                                   taken the actions they did.

                                                                                                                                                         The Oxford Community School District is responsible for having a

                                                                                                                                                   Constitutionally deficient policy, custom and practice that was a driving force behind

                                                                                                                                                   the constitutional violations. Further, said school district ratified the unconstitutional

                                                                                                                                                   actions of the individually named Defendants.




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                                                                                                                                                                             JURISDICTION AND VENUE
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                                                                                                                                                         1.     This action arises under the United States Constitution and under the
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                                                                                                                                                   laws of the United States Constitution, particularly under the provisions of the

                                                                                                                                                   Fourteenth Amendment to the United States Constitution and under the laws of the

                                                                                                                                                   United States, particularly the Civil Rights Act, Title 42 of the United States Code,

                                                                                                                                                   Sections 1983 and 1988, and under the statutes and common law of the State of

                                                                                                                                                   Michigan.

                                                                                                                                                         2.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343 (a)(3),

                                                                                                                                                   1343(a)(4) and 42 U.S.C § 1983.
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                                                                                                                                                         3.     The actions alleged in this Complaint took place within Oakland

                                                                                                                                                   County, State of Michigan, and as such, jurisdiction lies in the United States District

                                                                                                                                                   Court for the Eastern District of Michigan (Southern Division).

                                                                                                                                                         4.     Venue is proper pursuant to 28 U.S.C. §1391(d).

                                                                                                                                                         5.     The amount in controversy exceeds One Hundred Million

                                                                                                                                                   ($100,000,000) dollars, excluding interests, costs, and attorneys’ fees.

                                                                                                                                                                                         PARTIES

                                                                                                                                                         6.     Plaintiffs hereby reincorporate and reassert each and every allegation

                                                                                                                                                   set forth in the previous paragraphs of this Complaint as if fully set forth herein.

                                                                                                                                                         7.     At all times relevant hereto, Plaintiffs’ Minor, RILEY FRANZ, was a

                                                                                                                                                   resident of the City of Leonard, County of Oakland, State of Michigan.
                                                                                                                                                                                              3
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                                                                                                                                                         8.     At all times relevant hereto, Plaintiffs’ Minor, BELLA FRANZ, was a

                                                                                                                                                   resident of the City of Leonard, County of Oakland, State of Michigan.
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                                                                                                                                                         9.     At all times relevant hereto, JEFFREY FRANZ and BRANDI FRANZ
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                                                                                                                                                   are the biological parents of RILEY FRANZ, a Minor, and BELLA FRANZ, a

                                                                                                                                                   Minor, and are residents of the City of Leonard, County of Oakland, State of

                                                                                                                                                   Michigan.

                                                                                                                                                         10.    At all times relevant Plaintiffs’ Minors RILEY FRANZ and BELLA

                                                                                                                                                   FRANZ were students at Oxford High School in 12th and 9th grade respectively.

                                                                                                                                                         11.    Plaintiffs’ Minor, RILEY FRANZ, was an honor roll student preparing

                                                                                                                                                   to enter college. Plaintiffs’ Minor, BELLA FRANZ, was a star athlete getting ready
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                                                                                                                                                   for driver’s training.

                                                                                                                                                         12.    At all times relevant hereto, Defendant, OXFORD COMMUNITY

                                                                                                                                                   SCHOOL DISTRICT, was and is a municipal corporation, duly organized and

                                                                                                                                                   carrying out functions in the Township of Oxford, State of Michigan. Its functions

                                                                                                                                                   include: organizing, teaching, operating, staffing, training, and supervising the staff,

                                                                                                                                                   counselors, and teachers at Oxford High School.

                                                                                                                                                         13.    Upon information and belief, at all times relevant hereto, Defendant,

                                                                                                                                                   TIMOTHY THRONE, (hereinafter referred to as “THRONE”) is a citizen of the

                                                                                                                                                   State of Michigan and was acting under the color of state law within the course and

                                                                                                                                                   scope of his employment as Superintendent of the OXFORD COMMUNITY

                                                                                                                                                   SCHOOL DISTRICT.
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                                                                                                                                                         14.   Upon information and belief, at all times relevant hereto, Defendant,

                                                                                                                                                   STEVEN WOLF, (hereinafter referred to as “WOLF”) is a citizen of the State of
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                                                                                                                                                   Michigan and was acting under the color of state law within the course and scope of
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                                                                                                                                                   his employment as a Principal for Oxford High School within the OXFORD

                                                                                                                                                   COMMUNITY SCHOOL DISTRICT.

                                                                                                                                                         15.   Upon information and belief, at all times relevant hereto, Defendant,

                                                                                                                                                   RYAN MOORE, (hereinafter referred to as “MOORE”) is citizen of the State of

                                                                                                                                                   Michigan and was acting under the color of state law within the course and scope of

                                                                                                                                                   his employment as a Dean of Students for Oxford High School within the OXFORD

                                                                                                                                                   COMMUNITY SCHOOL DISTRICT.
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                                                                                                                                                         16.   Upon information and belief, at all times relevant hereto, Defendant,

                                                                                                                                                   COUNSELOR #1, (hereinafter referred to as “COUNSELOR #1”) is a citizen of

                                                                                                                                                   the State of Michigan and was acting under the color of state law within the course

                                                                                                                                                   and scope of his/her employment as a counselor at Oxford High School located in

                                                                                                                                                   the OXFORD COMMUNITY SCHOOL DISTRICT.

                                                                                                                                                         17.   Upon information and belief, at all times relevant hereto, Defendant,

                                                                                                                                                   COUNSELOR #2, (hereinafter referred to as “COUNSELOR #2”) is a citizen of the

                                                                                                                                                   State of Michigan and was acting under the color of state law within the course and

                                                                                                                                                   scope of his/her employment as a counselor at Oxford High School located in the

                                                                                                                                                   OXFORD COMMUNITY SCHOOL DISTRICT.



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                                                                                                                                                         18.       Upon information and belief, at all times relevant hereto, Defendant,

                                                                                                                                                   STAFF MEMBER, (hereinafter referred to as “STAFF MEMBER”) is a citizen of
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                                                                                                                                                   the State of Michigan and was acting under the color of state law within the course
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                                                                                                                                                   and scope of his/her employment as a staff member at Oxford High School located

                                                                                                                                                   in the OXFORD COMMUNITY SCHOOL DISTRICT.

                                                                                                                                                         19.       Upon information and belief, at all times relevant hereto, Defendant,

                                                                                                                                                   TEACHER #1, (hereinafter referred to as “TEACHER #1”) is a citizen of the State

                                                                                                                                                   of Michigan and was acting under the color of state law within the course and scope

                                                                                                                                                   of his/her employment as a teacher at Oxford High School located in the OXFORD

                                                                                                                                                   COMMUNITY SCHOOL DISTRICT.
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                                                                                                                                                         20.       Upon information and belief, at all times relevant hereto, Defendant,

                                                                                                                                                   TEACHER #2, (hereinafter referred to as “TEACHER #2”) is a citizen of the State

                                                                                                                                                   of Michigan and was acting under the color of state law within the course and scope

                                                                                                                                                   of his/her employment as a teacher at Oxford High School located in the OXFORD

                                                                                                                                                   COMMUNITY SCHOOL DISTRICT.

                                                                                                                                                                                    FACTUAL STATEMENT

                                                                                                                                                         21.       Plaintiffs hereby reincorporates by reference and reasserts each and

                                                                                                                                                   every allegation set forth in the previous paragraphs of this Complaint as if fully set

                                                                                                                                                   forth herein.

                                                                                                                                                         22.       Plaintiffs’ Minor, RILEY FRANZ, is a 17-year-old female senior at

                                                                                                                                                   Oxford High School.
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                                                                                                                                                         23.    Plaintiffs’ Minor, BELLA FRANZ, is a 14-year-old female freshman

                                                                                                                                                   at Oxford High School.
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                                                                                                                                                         24.    Ethan Crumbley was a 15-year-old male sophomore at Oxford High
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                                                                                                                                                   School at the time of the incident.

                                                                                                                                                         25.     On November 30, 2021, Ethan Crumbley brought a Sig Saur 9mm

                                                                                                                                                   semi-automatic handgun to Oxford High School and opened fire slaughtering

                                                                                                                                                   students, resulting in the death of four (4), and seriously injuring six (6) other

                                                                                                                                                   students and a teacher.

                                                                                                                                                         26.     Upon information and belief, in the days leading up to the November

                                                                                                                                                   30, 2021, incident, Ethan Crumbley, acted in such a way that would lead a reasonable
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                                                                                                                                                   observer to know and/or believe that he was planning to cause great bodily harm to

                                                                                                                                                   the students and/or staff at Oxford High School.

                                                                                                                                                         27.    By way of example, and not limitation, previous to the November 30,

                                                                                                                                                   2021 incident, Ethan Crumbley posted countdowns and threats of bodily harm,

                                                                                                                                                   including death, on his social media accounts, warning of violent tendencies and

                                                                                                                                                   murderous ideology prior to actually coming to school with the handgun and

                                                                                                                                                   ammunition to perpetuate the slaughter.

                                                                                                                                                         28.    For example, a threat on social media included an update to his twitter

                                                                                                                                                   account the night before which read, “Now I am become Death, the destroyer of

                                                                                                                                                   worlds. See you tomorrow Oxford.”



                                                                                                                                                                                             7
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                                                                                                                                                         29.    On or about November 16, 2021, days prior to the actual incident,

                                                                                                                                                   multiple concerned parents provided communications to Defendant WOLF with
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                                                                                                                                                   concerns about threats to students made on social media.
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                                                                                                                                                         30.    The parents’ communications to WOLF in part stated, “I know it’s been

                                                                                                                                                   investigated but my kid doesn’t feel safe at school," "He didn’t even want to go back

                                                                                                                                                   to school today."

                                                                                                                                                         31.    That same day, November 16, 2021, WOLF emailed parents indicating,

                                                                                                                                                   "I know I'm being redundant here, but there is absolutely no threat at the HS…large

                                                                                                                                                   assumptions were made from a few social media posts, then the assumptions evolved

                                                                                                                                                   into exaggerated rumors."
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                                                                                                                                                         32.    Defendants THRONE and WOLF reviewed the social media posts of

                                                                                                                                                   Crumbley prior to November 30, 2021, which threated Oxford High School students.

                                                                                                                                                         33.    Defendants THRONE and WOLF had actual knowledge of concerns

                                                                                                                                                   from parents of students at Oxford High School as well as the students at Oxford

                                                                                                                                                   High School.

                                                                                                                                                         34.    Despite the posts and knowledge of threats of violence, Defendant

                                                                                                                                                   THRONE sent correspondence and emails to parents at Oxford High School

                                                                                                                                                   reassuring them that their children were safe at Oxford High School.

                                                                                                                                                         35.    Following the November 16, 2021, email exchanges and other

                                                                                                                                                   communications from Defendant WOLF to the parents of Oxford High School

                                                                                                                                                   students, Superintendent THRONE warned the students, via loudspeaker, to stop
                                                                                                                                                                                            8
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                                                                                                                                                   spreading information over social media and to stop relying on information on social

                                                                                                                                                   media, reiterating that there were no threats that posed any danger to students at
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                                                                                                                                                   Oxford High School.
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                                                                                                                                                         36.    At all times relevant hereto, Defendant THRONE, while acting as the

                                                                                                                                                   Superintendent of OXFORD COMMUNITY SCHOOL DISTRICT, discouraged

                                                                                                                                                   students and parents from reporting, sharing, or otherwise discussing the threatening

                                                                                                                                                   social media posts.

                                                                                                                                                         37.    At all times relevant hereto, Ethan Crumbley’s Instagram and other

                                                                                                                                                   social media accounts were not set to private and were available to the public,

                                                                                                                                                   including Defendants.
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                                                                                                                                                         38.    Defendants THRONE, WOLF, and other employees and/or agents of

                                                                                                                                                   OXFORD COMMUNITY SCHOOL DISTRICT had knowledge of threats made to

                                                                                                                                                   the students, including Plaintiffs’ Minors RILEY AND BELLA FRANZ.

                                                                                                                                                         39.    At all times relevant hereto, Plaintiff Minors were safer before

                                                                                                                                                   Defendant THRONE took action and advised each and every student, including

                                                                                                                                                   Plaintiff Minors, that there was no credible threat.       By virtue of Defendant

                                                                                                                                                   THRONE’s actions, he substantially increased the harm to Plaintiffs’ Minors.

                                                                                                                                                         40.    Defendant THRONE knew and/or should have known, that his

                                                                                                                                                   announcement to the students at Oxford High School would discourage the students

                                                                                                                                                   and/or their parents from reporting credible threats of bodily harm to teachers,

                                                                                                                                                   counselors, and staff of Oxford High School.
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                                                                                                                                                         41.    At all times relevant, Plaintiffs’ Minors were safer before Defendant

                                                                                                                                                   WOLF took the actions described and advised each and every student, and parents,
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                                                                                                                                                   including Plaintiffs, that there was no credible threat at Oxford High School. By
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                                                                                                                                                   virtue of Defendant WOLF’s actions, he substantially increased the harm to

                                                                                                                                                   Plaintiffs’ Minors.

                                                                                                                                                         42.    Defendant WOLF knew and/or should have known that his assurances

                                                                                                                                                   that social media threats were not credible would discourage the students and/or their

                                                                                                                                                   parents from reporting credible threats of bodily harm to teachers, counselors, and

                                                                                                                                                   staff of Oxford High School.

                                                                                                                                                         43.    On November 26, 2021, Ethan Crumbley’s father, James Crumbley,
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                                                                                                                                                   purchased a Sig Saur 9 mm semi-automatic handgun for his son.

                                                                                                                                                         44.    On November 26, 2021, Ethan Crumbley posted a picture of the Sig

                                                                                                                                                   Saur 9 mm semi-automatic handgun to his social media account with the caption,

                                                                                                                                                   “just got my new beauty today” with an emoji with heart eyes, followed by, “Sig

                                                                                                                                                   Saur 9 mm. Any questions I will answer.” Emphasis added.

                                                                                                                                                         45.    At all times relevant hereto, Ethan Crumbley posted to his Instagram

                                                                                                                                                   account a post with a picture and caption of the Sig Saur 9 mm semi-automatic

                                                                                                                                                   handgun. This post was for public viewing and accessible to all Defendants.

                                                                                                                                                         46.    On November 27, 2021, Ethan Crumbley’s mother, Jennifer Crumbley,

                                                                                                                                                   posted a message on her social media account reading, “mom and son day testing

                                                                                                                                                   out his new Christmas present.” Emphasis added.
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                                                                                                                                                         47.    At all times relevant hereto, Jennifer Crumbley’s social media account

                                                                                                                                                   was not set to private, and the post was available to the public.
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                                                                                                                                                         48.    At all times relevant hereto, Jennifer Crumbley’s social media account
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                                                                                                                                                   with the picture and caption of the Sig Saur 9 mm semi-automatic handgun was

                                                                                                                                                   available for public viewing and accessible to all Defendants prior to Ethan

                                                                                                                                                   Crumbley returning to school on Monday, November 29, 2021.

                                                                                                                                                         49.    On November 29, 2021, Defendant TEACHER #1 at Oxford High

                                                                                                                                                   School observed Ethan Crumbley searching for ammunition on his cell phone during

                                                                                                                                                   class and reported the incident to COUNSELOR #1 at OXFORD COMMUNITY

                                                                                                                                                   SCHOOL DISTRICT.
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                                                                                                                                                         50.    Defendant TEACHER #1 allowed Crumbley to stay in the classroom

                                                                                                                                                   despite the threats of violence with the minor children at Oxford High School,

                                                                                                                                                   including Plaintiff’ Minors.

                                                                                                                                                         51.    Defendant TEACHER #1 knowingly and deliberately decided to

                                                                                                                                                   exclude the school safety liaison officer from notice of such dangers, despite

                                                                                                                                                   knowing that Ethan Crumbley was searching for ammunition during class, and the

                                                                                                                                                   aforesaid social media posts regarding his weapon were available to the public,

                                                                                                                                                   including Defendant TEACHER #1.

                                                                                                                                                         52.    Defendant TEACHER #1 had actual knowledge of the violent threats

                                                                                                                                                   of bodily harm and further had knowledge of Crumbley’s intent to perpetrate those

                                                                                                                                                   acts when he/she found Ethan Crumbley searching for ammunition and then did
                                                                                                                                                                                             11
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                                                                                                                                                   knowingly and deliberately decided to exclude the school safety liaison officer from

                                                                                                                                                   reporting this incident.
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                                                                                                                                                          53.    Following the search for ammunition on Crumbley’s cell phone,
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                                                                                                                                                   Defendants WOLF and THRONE were notified of the incident, putting them on

                                                                                                                                                   further alert of the threat.

                                                                                                                                                          54.    Upon information and belief, Ethan Crumbley met with Defendants,

                                                                                                                                                   COUNSELOR #1 and STAFF MEMBER about the search for ammunition during

                                                                                                                                                   class on November 29, 2021.

                                                                                                                                                          55.    On November 29, 2021, after meeting with Defendants COUNSELOR

                                                                                                                                                   #1 and STAFF MEMBER, and as a result of Ethan Crumbley’s search for
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                                                                                                                                                   ammunition during class, Jennifer Crumbley, was contacted via telephone by

                                                                                                                                                   Defendant STAFF MEMBER who left a voicemail regarding Ethan Crumbley’s

                                                                                                                                                   inappropriate internet search.

                                                                                                                                                          56.    On November 29, 2021, Defendant STAFF MEMBER followed up on

                                                                                                                                                   the unreturned voicemail to Jennifer Crumbley, with an email to Ethan Crumbley’s

                                                                                                                                                   parents regarding the search for ammunition during school hours.

                                                                                                                                                          57.    Defendants COUNSELOR #1 and STAFF MEMBER, made a knowing

                                                                                                                                                   and deliberate decision to exclude involving the school safety liaison officer of Ethan

                                                                                                                                                   Crumbley’s behavior and knowingly decided to refrain from informing the school

                                                                                                                                                   safety liaison of the meeting with Ethan Crumbley regarding the same.



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                                                                                                                                                         58.    Defendants TEACHER #1 and COUNSELOR #1, deliberately and

                                                                                                                                                   knowingly sent Ethan Crumbley home after school, without any discipline or follow-
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                                                                                                                                                   up search regarding his inappropriate search for ammunition during class.
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                                                                                                                                                         59.    At all times relevant, Defendant STAFF MEMBER, knew and/or

                                                                                                                                                   should have known that the information regarding Ethan Crumbley’s inappropriate

                                                                                                                                                   internet search would likely be relayed to Ethan Crumbley by his parents and would

                                                                                                                                                   encourage and/or entice Ethan Crumbley into more affirmative actions.

                                                                                                                                                         60.    At all times relevant, the students at Oxford High School, including

                                                                                                                                                   minor Plaintiffs, were safer before Defendant STAFF MEMBER, affirmatively

                                                                                                                                                   contacted Ethan Crumbley’s parents via telephone and email, and afferently chose
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                                                                                                                                                   to allow Ethan Crumbley to return to school the next day. This action assisted with

                                                                                                                                                   an acceleration of plans to effectuate his slaughter of classmates. Defendant, STAFF

                                                                                                                                                   MEMBER, made a knowing and deliberate decision to not take any meaningful

                                                                                                                                                   corrective action against Ethan Crumbley, increasing the risk that Plaintiffs’ Minors

                                                                                                                                                   would be exposed to Ethan Crumbley’s acts of violence.

                                                                                                                                                         61.    At all times relevant, Plaintiffs were safer before Defendant

                                                                                                                                                   COUNSELOR #1, affirmatively contacted Ethan Crumbley’s parents via telephone

                                                                                                                                                   and email, and affirmatively chose against certain actions and affirmatively decided

                                                                                                                                                   to allow Ethan Crumbley to return to school the next day. This action assisted in the

                                                                                                                                                   perpetuation of his plans to effectuate a violent slaughter of classmates, and



                                                                                                                                                                                            13
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                                                                                                                                                   increased the risk that Plaintiffs’ Minors would be exposed to Ethan Crumbley’s acts

                                                                                                                                                   of violence.
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                                                                                                                                                         62.      On November 29, 2021, when Defendants TEACHER #1 and
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                                                                                                                                                   COUNSELOR #1, knowingly and deliberately released Ethan Crumbley without

                                                                                                                                                   further investigation, or discipline. Further, Ethan Crumbley’s public social media

                                                                                                                                                   post’s regarding his Sig Saur 9 mm semi-automatic handgun and Jennifer

                                                                                                                                                   Crumbley’s public social media post were available to the Dean of Students, school

                                                                                                                                                   principal, superintendent, counselors, and teachers, including Defendants, all of

                                                                                                                                                   which altered said Defendants to the imminent attack.

                                                                                                                                                         63.      Upon information and belief, in the evening of November 29, 2021,
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                                                                                                                                                   after Defendants TEACHER #1, COUNSELOR #1, and STAFF MEMBER,

                                                                                                                                                   released Ethan Crumbley from school without discipline and without investigating

                                                                                                                                                   his inappropriate internet search, and without notifying the school safety liaison

                                                                                                                                                   officer, that Ethan Crumbley had posted to his Twitter account, “Now I am become

                                                                                                                                                   Death, the destroyer of worlds. See you tomorrow Oxford.” Although his Twitter

                                                                                                                                                   account was set to private, the posting was made to his profile biography, and visible

                                                                                                                                                   to anyone who could search his name, including Defendants.

                                                                                                                                                         64.      Ethan Crumbley returned to school the next day unchained. The

                                                                                                                                                   students at Oxford High School, and Plaintiffs’ Minors in particular, were safer

                                                                                                                                                   before Defendant TEACHER #1, COUNSELOR #1, and STAFF MEMBER,

                                                                                                                                                   knowingly and deliberately allowed the murderous student to return to school the
                                                                                                                                                                                            14
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                                                                                                                                                   next day, despite the clear and present dangers he posed to students at Oxford High

                                                                                                                                                   School.
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                                                                                                                                                         65.    At all times relevant, Defendant TEACHER #1, COUNSELOR #1,
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                                                                                                                                                   STAFF MEMBER, made a knowing, intentional, and deliberate decision to

                                                                                                                                                   intentionally withhold and exclude important and vital information from the school

                                                                                                                                                   liaison officer before allowing Ethan Crumbley to return to school the next day,

                                                                                                                                                   putting all students in immediate danger, and accelerating Crumbley’s plans to

                                                                                                                                                   effectuate his planned slaughter of classmates, thereby increasing the risk that

                                                                                                                                                   Plaintiffs’ Minors would be exposed to Ethan Crumbley’s acts of violence.

                                                                                                                                                         66.    On the morning of November 30, 2021, Defendant TEACHER #2
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                                                                                                                                                   discovered a note on Ethan Crumbley’s desk which alarmed her, and which she

                                                                                                                                                   reported to Defendant MOORE and Defendant COUNSELOR #1, and took a picture

                                                                                                                                                   of said note with her cell phone.

                                                                                                                                                         67.    Upon information and belief, the note contained the following:

                                                                                                                                                                ▪ A drawing of a semi-automatic handgun pointing the words, “the
                                                                                                                                                                  thoughts won’t stop help me;”

                                                                                                                                                                ▪ In another section of the note was the drawing of a bullet with the
                                                                                                                                                                  following words above the bullet, “blood everywhere;”

                                                                                                                                                                ▪ Between the drawing of the gun and bullet is a drawing of a person
                                                                                                                                                                  who appears to have been shot twice and bleeding;

                                                                                                                                                                ▪ Below that figure is a drawing of laughing emoji;


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                                                                                                                                                                  ▪ Further down the drawing are the words, “My life is useless” with
                                                                                                                                                                    the words, “the world is dead” to the right.
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                                                                                                                                                         68.      Upon information and belief, Defendant TEACHER #2, was also aware

                                                                                                                                                   of a school policy of excluding backpacks in classroom, and TEACHER #2, made a
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                                                                                                                                                   knowing and deliberate decision to leave, unsearched, Ethan Crumbley’s backpack,

                                                                                                                                                   even after discovering the alarming note authored by Crumbley.

                                                                                                                                                         69.      At all times relevant hereto, the students at Oxford High School, and in

                                                                                                                                                   particular, minor Plaintiffs, were safer before Defendant TEACHER #2 knowingly

                                                                                                                                                   and affirmatively allowed Crumbley to continue to maintain control of his backpack,

                                                                                                                                                   phone, and other possessions, giving him easy access to store a gun, thereby
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                                                                                                                                                   increasing the risk that Plaintiff’ Minors would be exposed to Ethan Crumbley’s acts

                                                                                                                                                   of violence.

                                                                                                                                                         70.      At all times relevant, the students of Oxford High School, were safer

                                                                                                                                                   before Defendant TEACHER #2 took action and intentionally did not report the

                                                                                                                                                   violent note drawn by Ethan Crumbley, containing threats of bodily harm, including

                                                                                                                                                   death, to the school liaison officer, causing Ethan Crumbley to have the opportunity

                                                                                                                                                   to shoot the classmates, but to do so on an accelerated timeline, thereby increasing

                                                                                                                                                   the risk that Plaintiffs’ Minors would be exposed to Ethan Crumbley’s acts of

                                                                                                                                                   violence.

                                                                                                                                                         71.      Upon information and belief, upon discovery of the concerning note,

                                                                                                                                                   Ethan Crumbley was removed from the classroom, in front of his classmates, with

                                                                                                                                                                                              16
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                                                                                                                                                   his backpack, by Defendant COUNSELOR #1 and was made to sit in the office with

                                                                                                                                                   Defendants COUNSELOR #1, and COUNSELOR #2 for approximately an hour and
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                                                                                                                                                   a half while waiting for his parents to arrive at the school.
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                                                                                                                                                         72.    Defendant COUNSELOR #1 knew and/or should have known that by

                                                                                                                                                   removing Ethan Crumbley from class, in front of his classmates, with his backpack

                                                                                                                                                   and making him sit for an hour and a half while waiting for his parents, after Ethan

                                                                                                                                                   Crumbley had drawn violent pictures and notes depicting death and violence against

                                                                                                                                                   students at Oxford High School, such actions would further accelerate Ethan

                                                                                                                                                   Crumbley’s murderous plans.

                                                                                                                                                         73.    Upon information and belief, during the period of time that Ethan
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                                                                                                                                                   Crumbley sat with the counselors, he maintained control of his backpack which then

                                                                                                                                                   contained the Sig Saur 9 mm semi-automatic handgun with 30 live bullets to be used

                                                                                                                                                   to slaughter classmates.

                                                                                                                                                         74.    Defendant COUNSELOR #1 and COUNSELOR #2, knowingly and

                                                                                                                                                   deliberately decided to exclude the school safety liaison despite from having

                                                                                                                                                   knowledge of threats against the school, Ethan Crumbley’s search history the day

                                                                                                                                                   before, and the violent drawing which were the reason for his removal from the

                                                                                                                                                   classroom.

                                                                                                                                                         75.    At all times relevant, the students of Oxford High School, were safer

                                                                                                                                                   before Defendant COUNSELOR #1 and COUNSELOR #2 took action and

                                                                                                                                                   deliberately did not report the violent note drawn by Ethan Crumbley, containing
                                                                                                                                                                                             17
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                                                                                                                                                   threats of bodily harm, including death, to the school liaison officer allowing Ethan

                                                                                                                                                   Crumbley thereby to have the opportunity to carry out his murderous rampage on an
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                                                                                                                                                   accelerated timeline, thereby increasing the risk that Plaintiffs’ Minors would be
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                                                                                                                                                   exposed to Ethan Crumbley’s acts of violence.

                                                                                                                                                         76.    Upon information and belief, Ethan Crumbley’s parents arrived at the

                                                                                                                                                   school and a meeting was held with Defendant COUNSELOR #1, Defendant

                                                                                                                                                   COUNSELOR #2, Defendant MOORE, Defendant STAFF MEMBER, and

                                                                                                                                                   Defendant WOLF, at which Ethan Crumbley was present and at which time they

                                                                                                                                                   were shown the aforesaid drawing and advised by Defendants that Ethan was

                                                                                                                                                   required to go to counseling within 48-hours.
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                                                                                                                                                         77.    Upon information and belief, Ethan Crumbley’s parents were advised

                                                                                                                                                   by Defendants COUNSELOR #1, COUNSELOR #2, MOORE, STAFF MEMBER,

                                                                                                                                                   and WOLF, in the presence of Ethan Crumbley, that a failure to attend counseling

                                                                                                                                                   within 48 hours would result in the school contacting Child Protective Services.

                                                                                                                                                         78.    Defendants COUNSELOR #1, COUNSELOR #2, MOORE, STAFF

                                                                                                                                                   MEMBER, and WOLF took these actions during school hours, while students were

                                                                                                                                                   present at Oxford High School.

                                                                                                                                                         79.    After the meeting which Defendants COUNSELOR #1, COUNSELOR

                                                                                                                                                   #2, STAFF MEMBER, TEACHER #1, TEACHER #2, WOLF and MOORE, Ethan

                                                                                                                                                   Crumbley, and his parents, Ethan Crumbley returned to the classroom with his

                                                                                                                                                   backpack containing the Sig Saur 9 mm semi-automatic handgun and 30 live bullets.
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                                                                                                                                                         80.    At all times relevant, Defendants STAFF MEMBER, COUNSELOR

                                                                                                                                                   #1, COUNSELOR #2, TEACHER #2, MOORE, and WOLF, deliberately conducted
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                                                                                                                                                   this meeting, excluding the School Safety Liaison Officer from the meeting, thereby
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                                                                                                                                                   preventing him from being present at the meeting.

                                                                                                                                                         81.    At all times relevant, Plaintiffs were safer before Defendant WOLF

                                                                                                                                                   took action and held a meeting with Crumbley and his parents (without the school

                                                                                                                                                   safety liaison officer present) and by subsequently allowing Ethan Crumbley to

                                                                                                                                                   return to class where he was able to carry out a massacre of classmates. By virtue of

                                                                                                                                                   Defendant WOLF’s actions, he substantially increased the harm that Plaintiffs’

                                                                                                                                                   Minors would be exposed to Ethan Crumbley’s acts of violence.
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                                                                                                                                                         82.    At all times relevant, Plaintiffs were safer before Defendant MOORE

                                                                                                                                                   took action and held a meeting with Ethan Crumbley and his parents (without the

                                                                                                                                                   school safety liaison officer present) and by subsequently allowing Crumbley to

                                                                                                                                                   return to his classroom where he was able to carry out the murder of fellow students,

                                                                                                                                                   fulfilling his aforesaid promises to do so. By virtue of Defendant MOORE’s actions,

                                                                                                                                                   he substantially increased the risk that Plaintiffs’ Minors would be exposed to Ethan

                                                                                                                                                   Crumbley’s acts of violence.

                                                                                                                                                         83.    At all times relevant, Plaintiffs were safer before Defendant TEACHER

                                                                                                                                                   #2 took action and held a meeting with Crumbley and his parents (without the school

                                                                                                                                                   safety liaison officer present) and by subsequently allowing Crumbley to return to

                                                                                                                                                   his classroom where he was able to effectuate his planned massacre. By virtue of
                                                                                                                                                                                            19
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                                                                                                                                                   Defendant TEACHER #2 actions, he/she substantially increased the risk that

                                                                                                                                                   Plaintiffs’ Minors would be exposed to Ethan Crumbley’s acts of violence.
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                                                                                                                                                         84.      At all times relevant, Plaintiffs were safer before Defendant
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                                                                                                                                                   COUNSELOR #1 took action and held a meeting with Crumbley and his parents

                                                                                                                                                   (without the school safety liaison officer present) and by subsequently allowing

                                                                                                                                                   Crumbley to return to his classroom where he was able to carry out a massacre of

                                                                                                                                                   students.   By virtue of Defendant COUNSELOR #1 actions, he/she substantially

                                                                                                                                                   increased the risk that Plaintiffs’ Minors would be exposed to Ethan Crumbley’s acts

                                                                                                                                                   of violence.

                                                                                                                                                         85.      At all times relevant, Plaintiffs were safer before Defendant
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                                                                                                                                                   COUNSELOR #2 took action and held a meeting with Crumbley and his parents

                                                                                                                                                   (without the school safety liaison officer present) and by subsequently allowing

                                                                                                                                                   Crumbley to return to his classroom where he was able to carry out a slaughter. By

                                                                                                                                                   virtue of Defendant COUNSELOR #2 actions, he/she substantially increased the risk

                                                                                                                                                   that Plaintiffs’ Minors would be exposed to Ethan Crumbley’s acts of violence.

                                                                                                                                                         86.      At all times relevant, Plaintiffs were safer before Defendant STAFF

                                                                                                                                                   MEMBER took action and held a meeting with Crumbley and his parents (without

                                                                                                                                                   the school safety liaison officer present) and by subsequently allowing Crumbley to

                                                                                                                                                   return to his classroom where he was able to carry out his plan to murder classmates.

                                                                                                                                                   By virtue of Defendant STAFF MEMBER’s actions, he/she substantially increased



                                                                                                                                                                                            20
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                                                                                                                                                   the risk that Plaintiffs’ Minors would be exposed to Ethan Crumbley’s acts of

                                                                                                                                                   violence.
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                                                                                                                                                         87.    Defendants WOLF, MOORE, TEACHER #2, COUNSELOR #1,
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                                                                                                                                                   COUNSELOR #2, and STAFF MEMBER, knew that threatening to call Child

                                                                                                                                                   Protective Services within 48 hours, and threating, without action, to remove Ethan

                                                                                                                                                   Crumbley from his home, would create and/or increase the likelihood that Ethan

                                                                                                                                                   Crumbley would carry out his plan and slaughter he lost the opportunity given the

                                                                                                                                                   prospect of threatened Child Protective Services intervention in the coming days.

                                                                                                                                                         88.    Upon information and belief, after being allowed to return to his

                                                                                                                                                   classroom, Ethan Crumbley took his backpack to a school bathroom, and, sometime
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                                                                                                                                                   after being returned to his class, loaded ammunition in the Sig Saur 9 mm semi-

                                                                                                                                                   automatic handgun and walked out of the bathroom to design the massacre.

                                                                                                                                                         89.    Defendants WOLF, MOORE, TEACHER #2, COUNSELOR #1,

                                                                                                                                                   COUNSELOR #2, and STAFF MEMBER gave Ethan Crumbley the opportunity to

                                                                                                                                                   go to the bathroom, with his backpack, to prepare for his planned rampage, thereby

                                                                                                                                                   increasing the risk that Plaintiffs’ Minors would be exposed to Ethan Crumbley’s

                                                                                                                                                   acts of violence.

                                                                                                                                                         90.    At approximately 12:52 p.m., authorities were notified of an active

                                                                                                                                                   shooter at Oxford High School.

                                                                                                                                                         91.    Upon information and belief, Ethan Crumbley’s massacre was halted

                                                                                                                                                   when he was apprehended by law enforcement.
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                                                                                                                                                         92.    On November 30, 2021, RILEY FRANZ was shot in the neck as a direct

                                                                                                                                                   result of each and every one of the within enumerated actions of Defendants’,
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                                                                                                                                                   causing her severe trauma, post-traumatic stress disorder, fright, shock, terror,
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                                                                                                                                                   anxiety as well as physical and emotional injuries.

                                                                                                                                                         93.    On November 30, 2021, BELLA FRANZ, narrowly escaped the bullets

                                                                                                                                                   discharged towards her, her sister, and her friends. She observed her sister, friends

                                                                                                                                                   and classmates being shot and murdered, causing her severe trauma, fright, shock,

                                                                                                                                                   terror, anxiety, post-traumatic stress disorder, and emotional injuries

                                                                                                                                                         94.    On December 1, 2021, Ethan Crumbley was arraigned and charged as

                                                                                                                                                   an adult with one count of terrorism causing death, four (4) counts of first-degree
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                                                                                                                                                   murder, seven (7) counts of assault with intent to murder, and 12 counts of

                                                                                                                                                   possession of a firearm in the commission of a felony.

                                                                                                                                                         95.    The risk that Ethan Crumbley posed a substantial and deadly harm to

                                                                                                                                                   other students was obvious and known by the Defendants.

                                                                                                                                                         96.    That each and every defendant named herein made affirmative actions

                                                                                                                                                   that created and increased the risk of harm and danger to Oxford High School

                                                                                                                                                   students, and in particular, Plaintiffs’ Minors’ RILEY FRANZ’s and BELLA

                                                                                                                                                   FRANZ’s, vulnerability to the extremely violent behavior and murderous ideology

                                                                                                                                                   of Ethan Crumbley.      Minor Plaintiffs were all safer before the actions of all

                                                                                                                                                   Defendants than they were after.



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                                                                                                                                                         97.    The “state action” of all Defendants substantially increased the harm to

                                                                                                                                                   the minor Plaintiffs, thereby increasing the risk that Plaintiffs’ would be exposed to
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                                                                                                                                                   Ethan Crumbley’s acts of violence.
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                                                                                                                                                         98.    The “state action” of each and all of the Defendants accelerated the acts

                                                                                                                                                   of violence committed by Ethan Crumbley.

                                                                                                                                                         99.    The “state action” of all Defendants allowed threats of violence to be

                                                                                                                                                   carried out towards the students, and allowed Crumbley the opportunity to retrieve

                                                                                                                                                   his handgun, by deliberately conducting inflammatory meetings without a police

                                                                                                                                                   liaison present, directly causing the students at Oxford High School to be subjected

                                                                                                                                                   to great bodily harm.
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                                                                                                                                                         100. At all times relevant, all Defendants willfully misrepresented the

                                                                                                                                                   dangers presented which was an action in and of itself. The students and Plaintiffs’

                                                                                                                                                   Minors in particular were safer had the misrepresentations not been said, thereby

                                                                                                                                                   increasing the risk that Plaintiffs’ would be exposed to Ethan Crumbley’s acts of

                                                                                                                                                   violence.

                                                                                                                                                         101. The Defendants affirmative actions were reckless and put the students

                                                                                                                                                   at Oxford High School, and in particular Plaintiffs’ Minors, RILEY FRANZ, and

                                                                                                                                                   BELLA FRANZ, in a substantial risk of serious and immediate harm.

                                                                                                                                                         102. Defendants had a clearly established duty to not create and/or increase

                                                                                                                                                   the risk of harm and danger to Oxford High School Students, and in particular,

                                                                                                                                                   Plaintiffs’ minors’ RILEY FRANZ and BELLA FRANZ.
                                                                                                                                                                                            23
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                                                                                                                                                         103. The Defendants affirmative actions placed Oxford High School

                                                                                                                                                   students, and in particular Plaintiffs’ minors, RILEY FRANZ and BELLA FRANZ,
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                                                                                                                                                   at risk of a violent school shooting.
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                                                                                                                                                         104. The Defendants knew and/or clearly should have known that their

                                                                                                                                                   actions would endanger the students at Oxford High School, and in particular,

                                                                                                                                                   Plaintiffs’ Minors, RILEY FRANZ and BELLA FRANZ.

                                                                                                                                                         105.    RILEY FRANZ and BELLA FRANZ were safer before each and every

                                                                                                                                                   one of the individual Defendants took the within enumerated actions, which placed

                                                                                                                                                   Plaintiffs’ Minors in a substantially more dangerous situation, increasing the risk

                                                                                                                                                   that Plaintiffs’ Minors would be exposed to Ethan Crumbley’s acts of violence.
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                                                                                                                                                         106. At all times relevant the action by each and every individual defendant

                                                                                                                                                   created the substantial risk that outside assistance to the Oxford High School

                                                                                                                                                   Students and Plaintiff’s in particular would be negated, by willfully representing

                                                                                                                                                   they had taken action ensure the safety of all the Oxford High School Students,

                                                                                                                                                   including Plaintiffs’ minors.

                                                                                                                                                         107. Defendants’ conduct was outrageous and shocks the conscience.

                                                                                                                                                         108. Defendants are not entitled to governmental and/or qualified immunity.




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                                                                                                                                                                                 COUNT I
                                                                                                                                                           VIOLATION OF CIVIL RIGHTS PURSUANT TO THE
                                                                                                                                                              14TH AMENDMENT TO THE CONSTITUTION
                                                                                                                                                          AND 42 U.S.C. §1983, 1988 STATE CREATED DANGER
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                                                                                                                                                   AS TO DEFENDANTS, COUNSELOR #1, COUNSELOR #2, TEACHER #1,
                                                                                                                                                      TEACHER #2, STAFF MEMBER, SUPERINTENDENT TIMOTHY
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                                                                                                                                                      THRONE, DEAN OF STUDENTS, RYAN MOORE and, PRINCIPAL
                                                                                                                                                                             STEVEN WOLF

                                                                                                                                                         109. Plaintiffs hereby reincorporates and reasserts each and every allegation

                                                                                                                                                   set forth in the previous paragraphs of this Complaint as if fully set forth herein.

                                                                                                                                                         110. As a citizen of the United States Plaintiffs’ Minors, RILEY FRANZ

                                                                                                                                                   and BELLA FRANZ were entitled to all rights, privileges, and immunities accorded

                                                                                                                                                   to all citizens of the State of Michigan and of the United States.
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                                                                                                                                                         111. Pursuant to the Fourteenth Amendment of the United States

                                                                                                                                                   Constitution, at all times relevant hereto, Plaintiffs’ Minors, RILEY FRANZ and

                                                                                                                                                   BELLA FRANZ, had a clearly established right to be free from danger created

                                                                                                                                                   and/or increased by the Defendants.

                                                                                                                                                         112. At all times relevant hereto, that the Defendants, COUNSELOR #1,

                                                                                                                                                   COUNSELOR #2, TEACHER #1, TEACHER #2, STAFF MEMBER, THRONE,

                                                                                                                                                   WOLF, and MOORE, were acting under the color of state law and created and/or

                                                                                                                                                   increased a state created danger by substantially increasing the risk of harm to

                                                                                                                                                   RILEY FRANZ and BELLA FRANZ and in reckless disregard to Plaintiffs’ Minors

                                                                                                                                                   safety, thereby increasing the risk that Plaintiffs’ Minors would be exposed to Ethan

                                                                                                                                                   Crumbley’s acts of violence.

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                                                                                                                                                         113. That actions by Defendants, COUNSELOR #1, COUNSELOR #2,

                                                                                                                                                   TEACHER #1, TEACHER #2, STAFF MEMBER, THRONE, WOLF, and
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                                                                                                                                                   MOORE, under the 14th Amendment to the United States Constitution, as well as 42
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                                                                                                                                                   U.S.C. §1983 and §1988 were all performed under the color of state law and were

                                                                                                                                                   objectively unreasonable and performed knowingly, deliberately and indifferently to

                                                                                                                                                   Plaintiffs’ Minors RILEY FRANZ and BELLA FRANZ and in reckless disregard to

                                                                                                                                                   Plaintiffs’ Minors’ safety.

                                                                                                                                                         114. That each and all Defendants, were acting under the color of state law

                                                                                                                                                   when they deprived Plaintiffs’ Minors RILEY FRANZ and BELLA FRANZ of their

                                                                                                                                                   clearly established rights, privileges, and immunities in violation of the 14 th
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                                                                                                                                                   Amendment of the Constitution of the United States, and of 42 U.S.C. §1983 and

                                                                                                                                                   §1988.

                                                                                                                                                         115. That each and every individual Defendant exhibited deliberate

                                                                                                                                                   indifference, pursuant to the Fourteenth Amendment to the United States

                                                                                                                                                   Constitution, by taking affirmative actions resulting in the students and Plaintiffs’

                                                                                                                                                   Minors in particular being less safe than they were before the action of each and

                                                                                                                                                   every Individual Defendant. Their actions created the danger and increased the risk

                                                                                                                                                   of harm that their students would be exposed to private acts of violence, to wit:

                                                                                                                                                                a. Deliberately and intentionally returning Ethan Crumbley to class
                                                                                                                                                                   with a loaded Sig Saur 9 mm semi-automatic handgun;




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                                                                                                                                                              b. Deliberating deciding not to involve or advise the proper police
                                                                                                                                                                 authorities of Ethan Crumbley’s conduct and making a decision to
                                                                                                                                                                 handle the situation without proper authorities being involved;
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                                                                                                                                                              c. Choosing to return Ethan Crumbley to class with a Sig Saur 9 mm
                                                                                                                                                                 semi-automatic handgun after he had been actively searching for
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                                                                                                                                                                 ammunition during class on the internet the day before;

                                                                                                                                                              d. Deliberately choosing not to search Ethan Crumbley’s backpack;

                                                                                                                                                              e. Choosing not to report Ethan Crumbley’s internet search for
                                                                                                                                                                 ammunition to proper police authorities the day before the shooting;

                                                                                                                                                              f. Deliberately returning Ethan Crumbley to his classroom with a Sig
                                                                                                                                                                 Saur 9 mm semi-automatic handgun and ammunition, after
                                                                                                                                                                 confiscating a picture drawn by Ethan Crumbley which
                                                                                                                                                                 demonstrated a high likelihood that Ethan Crumbley would
                                                                                                                                                                 effectuate a slaughter;

                                                                                                                                                              g. Choosing to internally handle the complaints and threat of a school
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                                                                                                                                                                 shooter in the days leading to the November 30, 2021, school
                                                                                                                                                                 shooting rather than involve the proper police authorities;

                                                                                                                                                              h. Deciding not to inspect Ethan Crumbley’s backpack which
                                                                                                                                                                 maintained the Sig Saur 9 mm semi-automatic handgun and
                                                                                                                                                                 ammunition used to shoot Plaintiffs’ Minors and/or Ethan
                                                                                                                                                                 Crumbley’s locker, when Defendants maintained custody and
                                                                                                                                                                 control over same;

                                                                                                                                                              i. Deliberately and intentionally concealing facts from the appropriate
                                                                                                                                                                 law enforcement authority before returning Ethan Crumbley to class
                                                                                                                                                                 where he had access to the Sig Saur 9 mm semi-automatic handgun
                                                                                                                                                                 used to shoot Plaintiffs’ Minors’;

                                                                                                                                                              j. Deliberately choosing not to report Ethan Crumbley’s suspicious
                                                                                                                                                                 behavior to Child Protective Services;

                                                                                                                                                              k. Deliberately choosing not to report Ethan Crumbley’s suspicious
                                                                                                                                                                 behavior to appropriate law enforcement;

                                                                                                                                                              l. Interviewing Ethan Crumbley in front of his parents, knowing that
                                                                                                                                                                 interview would accelerate the violence planned;


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                                                                                                                                                                m. Deliberately choosing not to have appropriate mental health
                                                                                                                                                                   intervention for Ethan Crumbley prior to returning him to class with
                                                                                                                                                                   a Sig Saur 9 mm semi-automatic handgun;
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                                                                                                                                                                n. Demonstrating conduct so reckless that it demonstrates a substantial
                                                                                                                                                                   lack of concern for whether any injury would result;
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                                                                                                                                                                o. Wrongfully causing Plaintiffs’ Minors to suffer extreme emotional
                                                                                                                                                                   distress;

                                                                                                                                                                p. Recklessly, or otherwise improperly returning Ethan Crumbley to
                                                                                                                                                                   class with the Sig Saur 9 mm semi-automatic handgun, so that he
                                                                                                                                                                   could effectuate his murderous ideology;

                                                                                                                                                                q. Any and all other breaches that may become known throughout the
                                                                                                                                                                   course of this litigation.

                                                                                                                                                         116. That all of the above conduct alleged in paragraph 115 a-q substantially

                                                                                                                                                   increased the harm to Plaintiffs Minors, who were safer before Defendants took the
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                                                                                                                                                   affirmative acts described within paragraph 115 a-q.

                                                                                                                                                         117. That the above-described conduct of Defendants COUNSELOR #1,

                                                                                                                                                   COUNSELOR #2, TEACHER #1, TEACHER #2, STAFF MEMBER, THRONE,

                                                                                                                                                   MOORE, and WOLF, as specifically set forth above, were the proximate cause of

                                                                                                                                                   Plaintiffs’ Minor, RILEY FRANZ’s injuries and damages, including but not limited

                                                                                                                                                   to the following:

                                                                                                                                                                a. Gunshot wound to the neck;

                                                                                                                                                                b. Fright, shock, and terror leading up to the shooting;

                                                                                                                                                                c. Conscious pain and suffering;

                                                                                                                                                                d. Need for wound care;

                                                                                                                                                                e. Need for therapy;

                                                                                                                                                                f. Post-Traumatic Stress Disorder;
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                                                                                                                                                              g. Terrors;

                                                                                                                                                              h. Disruption of her life;
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                                                                                                                                                              i. Pain and suffering;

                                                                                                                                                              j. Anxiety;
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                                                                                                                                                              k. Mental anguish;

                                                                                                                                                              l. Emotional Distress;

                                                                                                                                                              m. Fright and shock;

                                                                                                                                                              n. Humiliation and/or mortification;

                                                                                                                                                              o. Past and future reasonable medical and hospital expenses;

                                                                                                                                                              p. Past and future wage loss and loss of earnings capacity;

                                                                                                                                                              q. Need for household services;
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                                                                                                                                                              r. Need for attendant care;

                                                                                                                                                              s. Punitive damages;

                                                                                                                                                              t. Exemplary damages;

                                                                                                                                                              u. Any and all compensatory damages, both past and future;

                                                                                                                                                              v. Attorneys’ fees and costs pursuant to 42 U.S.C. §1988;

                                                                                                                                                              w. Other damages, injuries, and consequences that are found to be
                                                                                                                                                                 related to the incident that develops during the course of discovery;
                                                                                                                                                                 and

                                                                                                                                                              x. Any other damages allowed by law.

                                                                                                                                                        118. That the above-described conduct of Defendants, COUNSELOR #1,

                                                                                                                                                   COUNSELOR #2, TEACHER #1, TEACHER #2, STAFF MEMBER, THRONE,

                                                                                                                                                   MOORE, and WOLF, as specifically set forth above, were the proximate cause of



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                                                                                                                                                   Plaintiffs’ Minor, BELLA FRANZ’s injuries and damages, including but not limited

                                                                                                                                                   to the following:
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                                                                                                                                                                a. Post-Traumatic Stress Disorder;
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                                                                                                                                                                b. Fright, shock, and terror leading up to the shooting;

                                                                                                                                                                c. Pain and suffering;

                                                                                                                                                                d. Anxiety;

                                                                                                                                                                e. Mental anguish;

                                                                                                                                                                f. Emotional Distress;

                                                                                                                                                                g. Fright and shock;

                                                                                                                                                                h. Humiliation and/or mortification;

                                                                                                                                                                i. Past and future reasonable medical and hospital expenses;
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                                                                                                                                                                j. Past and future wage loss and loss of earnings capacity;

                                                                                                                                                                k. Need for household services;

                                                                                                                                                                l. Need for attendant care;

                                                                                                                                                                m. Punitive damages;

                                                                                                                                                                n. Exemplary damages;

                                                                                                                                                                o. Any and all compensatory damages, both past and future;

                                                                                                                                                                p. Attorneys’ fees and costs pursuant to 42 U.S.C. §1988;

                                                                                                                                                                q. Other damages, injuries, and consequences that are found to be
                                                                                                                                                                   related to the incident that develops during the course of discovery;
                                                                                                                                                                   and

                                                                                                                                                                r. Any other damages allowed by law.

                                                                                                                                                         119. Defendants are not entitled to governmental or qualified immunity.



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                                                                                                                                                         WHEREFORE, Plaintiffs, JEFFREY FRANZ and BRANDI FRANZ, as

                                                                                                                                                   Next Friends of RILEY FRANZ, a Minor, and BELLA FRANZ, a Minor, request
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                                                                                                                                                   that this Honorable Court enter judgment in their favor and against Defendants,
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                                                                                                                                                   jointly and severally, in an amount in excess of One-Hundred Million Dollars

                                                                                                                                                   ($100,000,000.00), together with interest, costs and attorneys’ fees, as well as

                                                                                                                                                   punitive and/or exemplary damages.

                                                                                                                                                                                 COUNT II
                                                                                                                                                            VIOLATION OF CIVIL RIGHTS PURSUANT TO THE
                                                                                                                                                               14TH AMENDMENT TO THE CONSTITUTION
                                                                                                                                                           AND 42 U.S.C. §1983, 1988 – SUPERVISORY LIABILITY
                                                                                                                                                         DEFENDANTS SUPERINTENDENT TIMOTHY THRONE, and
                                                                                                                                                                       PRINCIPAL STEVEN WOLF
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                                                                                                                                                         120. Plaintiffs hereby reincorporate and reassert each and every allegation

                                                                                                                                                   set forth in the previous paragraphs of this Complaint.

                                                                                                                                                         121. At all times relevant hereto, Defendant THRONE, was the

                                                                                                                                                   Superintendent at OXFORD COMMUNITY SCHOOL DISTRICT, and directly

                                                                                                                                                   supervised and oversaw the actions of Defendants WOLF, COUNSELOR #1,

                                                                                                                                                   COUNSELOR #2, TEACHER #1, TEACHER #2, STAFF MEMBER, and

                                                                                                                                                   MOORE, and encouraged the specific incident of misconduct and/or directly

                                                                                                                                                   participated in it by not expelling, disciplining, and providing proper supervision for

                                                                                                                                                   Ethan Crumbley, and/or notifying police authorities of Crumbley’s violent plans.

                                                                                                                                                         122. At all times relevant hereto, Defendant THRONE, was the

                                                                                                                                                   Superintendent at OXFORD COMMUNITY SCHOOL DISTRICT, and directly

                                                                                                                                                                                             31
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                                                                                                                                                   supervised and oversaw the actions of Defendants WOLF, COUNSELOR #1,

                                                                                                                                                   COUNSELOR #2, TEACHER #1, TEACHER #2, STAFF MEMBER, and
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                                                                                                                                                   MOORE, and encouraged the specific incident of misconduct and/or directly
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                                                                                                                                                   participated in it by discoursing the reporting, sharing, or mentioning of threats

                                                                                                                                                   against Oxford High School.

                                                                                                                                                         123. At all times relevant hereto, Defendant WOLF, was the principal at

                                                                                                                                                   Oxford High School, who was the direct supervisor and oversaw the actions of

                                                                                                                                                   Defendants COUNSELOR #1, COUNSELOR #2, TEACHER #1, TEACHER #2,

                                                                                                                                                   STAFF MEMBER, and MOORE, and encouraged the specific incident of

                                                                                                                                                   misconduct and/or directly participated in it by not expelling, disciplining, and
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                                                                                                                                                   providing proper supervision for Ethan Crumbley.

                                                                                                                                                         124. By inadequately training and/or supervising their teachers, counselors,

                                                                                                                                                   and dean of students, and having a custom or policy of indifference to the

                                                                                                                                                   constitutional rights of their citizens, and/or by failing to adequately supervise school

                                                                                                                                                   shooter, Ethan Crumbley, Defendants THRONE and WOLF encouraged and

                                                                                                                                                   cultivated the conduct which then caused a violation of Plaintiffs’ rights under the

                                                                                                                                                   Fourteenth Amendments of the United States Constitution.

                                                                                                                                                         125. By not expelling, disciplining, searching, or providing proper

                                                                                                                                                   supervision for Ethan Crumbley, Defendants THRONE and WOLF authorized,

                                                                                                                                                   approved, or knowingly acquiesced in the unconstitutional conduct of Defendants

                                                                                                                                                   COUNSELOR #1 and COUNSELOR #2, TEACHER #1, TEACHER #2, STAFF
                                                                                                                                                                                              32
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                                                                                                                                                   MEMBER, and MOORE, by allowing Ethan Crumbley to return to his classroom

                                                                                                                                                   and carry out his murderous rampage.
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                                                                                                                                                         126. Pursuant to the Fourteenth Amendment of the United States
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                                                                                                                                                   Constitution, at all times relevant hereto, each of Plaintiffs’ Minors, RILEY FRANZ

                                                                                                                                                   and BELLA FRANZ, had a clearly established right to be free from dangers created

                                                                                                                                                   by the Defendants.

                                                                                                                                                         127. That actions and omissions by Defendants, THRONE, WOLF,

                                                                                                                                                   COUNSELOR #1, and COUNSELOR #2, TEACHER #1, TEACHER #2, and

                                                                                                                                                   MOORE, under the 14th Amendment to the United States Constitution, as well as 42

                                                                                                                                                   U.S.C. §1983 and §1988 were all performed under the color of state law and were
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                                                                                                                                                   objectively unreasonable and performed knowingly, deliberately and indifferently to

                                                                                                                                                   Plaintiffs’ Minors RILEY FRANZ and BELLA FRANZ and in reckless disregard to

                                                                                                                                                   Plaintiffs’ Minors’ safety.

                                                                                                                                                         128. That Defendants, THRONE, WOLF, COUNSELOR #1, and

                                                                                                                                                   COUNSELOR #2, TEACHER #1, TEACHER #2, and MOORE were acting under

                                                                                                                                                   the color of state law when they deprived Plaintiffs’ Minors RILEY FRANZ and

                                                                                                                                                   BELLA FRANZ of their clearly established rights, privileges, and immunities in

                                                                                                                                                   violation of the 14th Amendment of the Constitution of the United States, and of 42

                                                                                                                                                   U.S.C. §1983 and §1988.

                                                                                                                                                         129. The Defendants exhibited deliberate indifference, pursuant to the

                                                                                                                                                   Fourteenth Amendment to the United States Constitution, to be free from acts that
                                                                                                                                                                                           33
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                                                                                                                                                   create the risk of harm and/or increase the risk of harm that an individual will be

                                                                                                                                                   exposed to private acts of violence, to wit:
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                                                                                                                                                                a. Deliberately and intentionally returning Ethan Crumbley to his class
                                                                                                                                                                   with a loaded Sig Saur 9 mm semi-automatic handgun;
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                                                                                                                                                                b. Choosing not to involve the proper authorities of Ethan Crumbley’s
                                                                                                                                                                   conduct and make the decision to handle the situation without the
                                                                                                                                                                   proper authority involvement;

                                                                                                                                                                c. Choosing to return Ethan Crumbley to his classroom with a Sig Saur
                                                                                                                                                                   9 mm semi-automatic handgun after he had been actively searching
                                                                                                                                                                   for ammunition during class on the internet the day before;

                                                                                                                                                                d. Choosing not to report Ethan Crumbley’s internet search for
                                                                                                                                                                   ammunition to proper authorities the day before the shooting;

                                                                                                                                                                e. Returning Ethan Crumbley to his classroom with a Sig Saur 9 mm
                                                                                                                                                                   semi-automatic handgun after confiscating a picture drawn by Ethan
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                                                                                                                                                                   Crumbley which demonstrated a high likelihood that Ethan
                                                                                                                                                                   Crumbley would carry out a mass murder;

                                                                                                                                                                f. Choosing to handle the complaints and allegations of a threat of a
                                                                                                                                                                   school shooter in the days leading to the November 30, 2021, school
                                                                                                                                                                   shooting, rather than involve the proper police authorities;

                                                                                                                                                                g. Deciding not to inspect Ethan Crumbley’s backpack which
                                                                                                                                                                   maintained the Sig Saur 9 mm semi-automatic handgun used to
                                                                                                                                                                   carry out the rampage, when Defendants otherwise maintained
                                                                                                                                                                   custody and control, for over an hour, of Ethan Crumbley and his
                                                                                                                                                                   backpack;

                                                                                                                                                                h. Deliberately and intentionally omitting facts to appropriate law
                                                                                                                                                                   enforcement authorities before returning Ethan Crumbley to class
                                                                                                                                                                   where he had access to the Sig Saur 9 mm semi-automatic handgun
                                                                                                                                                                   used to massacre students;

                                                                                                                                                                i. Deliberately choosing not to report Ethan Crumbley’s suspicious
                                                                                                                                                                   behavior to Child Protective Services;

                                                                                                                                                                j. Deliberately choosing not to report Ethan Crumbley’s suspicious
                                                                                                                                                                   behavior to appropriate law enforcement;

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                                                                                                                                                                k. Interviewing Ethan Crumbley in front of his parents, knowing that
                                                                                                                                                                   such interview would accelerate the violent actions and/or
                                                                                                                                                                   murderous plans of Ethan Crumbley;
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                                                                                                                                                                l. Deliberately choosing not to have appropriate mental health
                                                                                                                                                                   intervention for Ethan Crumbley prior to returning him to his
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                                                                                                                                                                   classroom with a Sig Saur 9 mm semi-automatic handgun;

                                                                                                                                                                m. Demonstrating conduct so reckless that it shows a substantial lack
                                                                                                                                                                   of concern for whether any injury would result;

                                                                                                                                                                n. Wrongfully causing Plaintiffs’ Minors to suffer extreme emotional
                                                                                                                                                                   distress;

                                                                                                                                                                o. Recklessly, or otherwise improperly returning Ethan Crumbley to
                                                                                                                                                                   class with the Sig Saur 9 mm semi-automatic handgun, so that he
                                                                                                                                                                   could effectuate his planned slaughter;

                                                                                                                                                                p. Enforced the deficient and faulty policies, procedures, and practices
                                                                                                                                                                   set forth in Count III, infra, as well as those previously described in
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                                                                                                                                                                   this Complaint.

                                                                                                                                                                q. Any and all other breaches that may become known throughout the
                                                                                                                                                                   course of this litigation.

                                                                                                                                                         130. That the above-described conduct of Defendants, THRONE, WOLF,

                                                                                                                                                   COUNSELOR #1, COUNSELOR #2, TEACHER #1, and TEACHER #2, STAFF

                                                                                                                                                   MEMBER, and MOORE as specifically set forth above, were the proximate cause

                                                                                                                                                   of Plaintiffs’ Minor, RILEY FRANZ’s injuries and damages, including but not

                                                                                                                                                   limited to the following:

                                                                                                                                                                    a. Gunshot wound to the neck;

                                                                                                                                                                    b. Fright, shock, and terror leading up to the shooting;

                                                                                                                                                                    c. Conscious pain and suffering;

                                                                                                                                                                    d. Need for wound care;

                                                                                                                                                                    e. Need for therapy;
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                                                                                                                                                                  f. Post-Traumatic Stress Disorder;

                                                                                                                                                                  g. Terrors;
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                                                                                                                                                                  h. Disruption of her life;

                                                                                                                                                                  i. Pain and suffering;
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                                                                                                                                                                  j. Anxiety;

                                                                                                                                                                  k. Mental anguish;

                                                                                                                                                                  l. Emotional Distress;

                                                                                                                                                                  m. Fright and shock;

                                                                                                                                                                  n. Humiliation and/or mortification;

                                                                                                                                                                  o. Past and future reasonable medical and hospital expenses;

                                                                                                                                                                  p. Past and future wage loss and loss of earnings capacity;
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                                                                                                                                                                  q. Need for household services;

                                                                                                                                                                  r. Need for attendant care;

                                                                                                                                                                  s. Punitive damages;

                                                                                                                                                                  t. Exemplary damages;

                                                                                                                                                                  u. Any and all compensatory damages, both past and future;

                                                                                                                                                                  v. Attorneys’ fees and costs pursuant to 42 U.S.C. §1988;

                                                                                                                                                                  w. Other damages, injuries, and consequences that are found to be
                                                                                                                                                                     related to the incident that develops during the course of
                                                                                                                                                                     discovery; and

                                                                                                                                                                  x. Any other damages allowed by law.

                                                                                                                                                        131. That the above-described conduct of Defendants, THRONE, WOLF,

                                                                                                                                                   COUNSELOR #1, COUNSELOR #2, TEACHER #1, and TEACHER #2, STAFF

                                                                                                                                                   MEMBER, and MOORE, as specifically set forth above, were the proximate cause

                                                                                                                                                                                           36
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                                                                                                                                                   of Plaintiffs’ Minor, BELLA FRANZ’s injuries and damages, including but not

                                                                                                                                                   limited to the following:
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                                                                                                                                                                    a. Post-Traumatic Stress Disorder;
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                                                                                                                                                                    b. Fright, shock, and terror leading up to the shooting;

                                                                                                                                                                    c. Pain and suffering;

                                                                                                                                                                    d. Anxiety;

                                                                                                                                                                    e. Mental anguish;

                                                                                                                                                                    f. Emotional Distress;

                                                                                                                                                                    g. Fright and shock;

                                                                                                                                                                    h. Humiliation and/or mortification;

                                                                                                                                                                    i. Past and future reasonable medical and hospital expenses;
FIEGER, FIEGER, KENNEY & HARRINGTON, P.C.




                                                                                                                                                                    j. Past and future wage loss and loss of earnings capacity;

                                                                                                                                                                    k. Need for household services;

                                                                                                                                                                    l. Need for attendant care;

                                                                                                                                                                    m. Punitive damages;

                                                                                                                                                                    n. Exemplary damages;

                                                                                                                                                                    o. Any and all compensatory damages, both past and future;

                                                                                                                                                                    p. Attorneys’ fees and costs pursuant to 42 U.S.C. §1988;

                                                                                                                                                                    q. Other damages, injuries, and consequences that are found to be
                                                                                                                                                                       related to the incident that develops during the course of
                                                                                                                                                                       discovery; and

                                                                                                                                                                    r. Any other damages allowed by law.

                                                                                                                                                      132.      Defendants are not entitled to governmental or qualified immunity.



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                                                                                                                                                         WHEREFORE, Plaintiffs, JEFFREY FRANZ and BRANDI FRANZ, as

                                                                                                                                                   Next Friends of RILEY FRANZ, a Minor, and BELLA FRANZ, a Minor, request
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                                                                                                                                                   that this Honorable Court enter judgment in their favor and against Defendants,
• A PROFESSIONAL CORPORATION




                                                                                                                                                   jointly and severally, in an amount in excess of One Hundred Million Dollars

                                                                                                                                                   ($100,000,000.00), together with interest, costs and attorneys’ fees, as well as

                                                                                                                                                   punitive and/or exemplary damages.



                                                                                                                                                                                 COUNT III
                                                                                                                                                                  42 U.S.C. § 1983 – MONELL LIABILITY
                                                                                                                                                           DEFENDANT OXFORD COMMUNITY SCHOOL DISTRICT

                                                                                                                                                         133. Plaintiffs hereby reincorporate and reassert each and every allegation
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                                                                                                                                                   set forth in the previous paragraphs of this Complaint.

                                                                                                                                                         134. At all times relevant, Defendant OXFORD COMMUNITY SCHOOL

                                                                                                                                                   DISTRICT failed and failed adequately to train, discipline and supervise

                                                                                                                                                   Defendants, THRONE, WOLF, COUNSELOR #1, COUNSELOR #2, TEACHER

                                                                                                                                                   #1, and TEACHER #2, STAFF MEMBER, and MOORE, promulgating and

                                                                                                                                                   maintaining de facto unconstitutional customs, policies, or practices rendering them

                                                                                                                                                   liable for the constitutional violations alleged herein under Monell v. Dept. of Social

                                                                                                                                                   Services of the City of New York, 436 U.S. 658 (1978).

                                                                                                                                                         135. At all times relevant, Defendant OXFORD COMMUNITY SCHOOL

                                                                                                                                                   DISTRICT knew or should have known that the policies, procedures, training

                                                                                                                                                   supervision and discipline of Defendants, THRONE, WOLF, COUNSELOR #1,
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                                                                                                                                                   COUNSELOR #2, TEACHER #1, and TEACHER #2, STAFF MEMBER, and

                                                                                                                                                   MOORE, were inadequate for the tasks that each Defendant was required to perform.
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                                                                                                                                                         136. At all times relevant, Defendant, OXFORD COMMUNITY SCHOOL
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                                                                                                                                                   DISTRICT failed to establish, implement or execute adequate policies, procedures,

                                                                                                                                                   rules and regulations to ensure that their actions did not create or increase the risk

                                                                                                                                                   Plaintiffs’ Minors, RILEY FRANZ and BELLA FRANZ, would be exposed to

                                                                                                                                                   private acts of violence.

                                                                                                                                                         137. At all times relevant, Defendant, OXFORD COMMUNITY SCHOOL

                                                                                                                                                   DISTRICT failed to establish, implement or execute adequate policies, procedures,

                                                                                                                                                   rules and regulations to ensure that their teachers, counselors and staff do not take
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                                                                                                                                                   actions that create or increase the risk of harm to district’s students at Oxford High

                                                                                                                                                   School, such as Plaintiffs’ Minors RILEY FRANZ, and BELLA FRANZ.

                                                                                                                                                         138. At all times relevant, Defendant OXFORD COMMUNITY SCHOOL

                                                                                                                                                   DISTRICT was on notice or should have known, of a history, custom, propensity,

                                                                                                                                                   and pattern for Defendants, THRONE, WOLF, COUNSELOR #1, COUNSELOR

                                                                                                                                                   #2, TEACHER #1, and TEACHER #2, STAFF MEMBER, and MOORE, and other

                                                                                                                                                   employees of Oxford High School, to fail to properly identify a student with violent

                                                                                                                                                   tendencies and acted in such a way that created a risk of harm to Oxford High School

                                                                                                                                                   students and/or increased a risk of harm to Oxford High School students, such as

                                                                                                                                                   Plaintiffs’ Minors’ RILEY FRANZ and BELLA FRANZ.



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                                                                                                                                                             139. Defendant OXFORD COMMUNITY SCHOOL DISTRICT explicitly

                                                                                                                                                   and implicitly authorized, approved, or knowingly acquiesced in the deliberate
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                                                                                                                                                   indifference to the strong likelihood that constitutional violations, such as in the
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                                                                                                                                                   instant case, would occur, and pursued policies, practices, and customs that were a

                                                                                                                                                   direct and proximate cause of the deprivations of Plaintiffs’ Minors’ constitutional

                                                                                                                                                   rights.

                                                                                                                                                             140. At all times relevant, Defendant OXFORD COMMUNITY SCHOOL

                                                                                                                                                   DISTRICT knew that its policies, procedures, customs, propensity and patterns of

                                                                                                                                                   supervising a student with violent tendencies and murderous ideology, would

                                                                                                                                                   deprive citizens, such as Plaintiffs’ Minors RILEY FRANZ and BELLA FRANZ,
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                                                                                                                                                   of their constitutional rights.

                                                                                                                                                             141. At all times relevant, Defendant OXFORD COMMUNITY SCHOOL

                                                                                                                                                   DISTRICT knew that its policies, procedures, customs, propensity and patterns

                                                                                                                                                   allowed principals, counselors, and teachers to return a student with violent

                                                                                                                                                   tendencies back to his classroom such that their actions created a risk of harm and/or

                                                                                                                                                   an increased risk of harm to the students at Oxford High School before getting

                                                                                                                                                   permission from proper authorities.

                                                                                                                                                             142. Upon information and belief, Defendant OXFORD COMMUNITY

                                                                                                                                                   SCHOOL DISTRICT maintained a policy that allowed principals, counselors and

                                                                                                                                                   teachers to return a fully weaponized violent child with murderous plans, back into

                                                                                                                                                   a classroom, such that he could effectuate a massacre.
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                                                                                                                                                         143. By inadequately training and/or supervising their principals and

                                                                                                                                                   counselors and having a custom or policy of deliberate indifference to the
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                                                                                                                                                   constitutional rights of their citizens, Defendant, OXFORD COMMUNITY
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                                                                                                                                                   SCHOOL DISTRICT, encouraged and cultivated the conduct which violated

                                                                                                                                                   Plaintiffs’ Minors’ rights under the Fourteenth Amendments of the United States

                                                                                                                                                   Constitution, thereby increasing the risk that Plaintiffs’ Minors would be exposed to

                                                                                                                                                   Ethan Crumbley’s acts of violence.

                                                                                                                                                         144. That the above-described conduct of Defendant, Oxford Community

                                                                                                                                                   School District, was the proximate cause of Plaintiffs’ Minor, RILEY FRANZ’s

                                                                                                                                                   injuries and damages, including but not limited to the following:
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                                                                                                                                                                a. Gunshot wound to the neck;

                                                                                                                                                                b. Fright, shock, and terror leading up to the shooting;

                                                                                                                                                                c. Conscious pain and suffering;

                                                                                                                                                                d. Need for wound care;

                                                                                                                                                                e. Need for therapy;

                                                                                                                                                                f. Post-Traumatic Stress Disorder;

                                                                                                                                                                g. Terrors;

                                                                                                                                                                h. Disruption of her life;

                                                                                                                                                                i. Pain and suffering;

                                                                                                                                                                j. Anxiety;

                                                                                                                                                                k. Mental anguish;

                                                                                                                                                                l. Emotional Distress;

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                                                                                                                                                                m. Fright and shock;

                                                                                                                                                                n. Humiliation and/or mortification;
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                                                                                                                                                                o. Past and future reasonable medical and hospital expenses;

                                                                                                                                                                p. Past and future wage loss and loss of earnings capacity;
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                                                                                                                                                                q. Need for household services;

                                                                                                                                                                r. Need for attendant care;

                                                                                                                                                                s. Punitive damages;

                                                                                                                                                                t. Exemplary damages;

                                                                                                                                                                u. Any and all compensatory damages, both past and future;

                                                                                                                                                                v. Attorneys’ fees and costs pursuant to 42 U.S.C. §1988;

                                                                                                                                                                w. Other damages, injuries, and consequences that are found to be
                                                                                                                                                                   related to the incident that develops during the course of discovery;
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                                                                                                                                                                   and

                                                                                                                                                                x. Any other damages allowed by law.

                                                                                                                                                         145. That the above-described conduct of Defendants was the proximate

                                                                                                                                                   cause of Plaintiffs’ Minor, BELLA FRANZ’s injuries and damages, including but

                                                                                                                                                   not limited to the following:

                                                                                                                                                            a. Post-Traumatic Stress Disorder;

                                                                                                                                                            b. Fright, shock, and terror leading up to the shooting;

                                                                                                                                                            c. Pain and suffering;

                                                                                                                                                            d. Anxiety;

                                                                                                                                                            e. Mental anguish;

                                                                                                                                                            f. Emotional Distress;

                                                                                                                                                            g. Fright and shock;

                                                                                                                                                                                              42
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                                                                                                                                                             h. Humiliation and/or mortification;

                                                                                                                                                             i. Past and future reasonable medical and hospital expenses;
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                                                                                                                                                             j. Past and future wage loss and loss of earnings capacity;

                                                                                                                                                             k. Need for household services;
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                                                                                                                                                             l. Need for attendant care;

                                                                                                                                                             m. Punitive damages;

                                                                                                                                                             n. Exemplary damages;

                                                                                                                                                             o. Any and all compensatory damages, both past and future;

                                                                                                                                                             p. Attorneys’ fees and costs pursuant to 42 U.S.C. §1988;

                                                                                                                                                             q. Other damages, injuries, and consequences that are found to be related
                                                                                                                                                                to the incident that develops during the course of discovery; and

                                                                                                                                                             r. Any other damages allowed by law.
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                                                                                                                                                      146.      Defendants are not entitled to governmental or qualified immunity.

                                                                                                                                                         WHEREFORE, Plaintiffs, JEFFREY FRANZ and BRANDI FRANZ, as

                                                                                                                                                   Next Friends of RILEY FRANZ, a Minor, and BELLA FRANZ, a Minor, request

                                                                                                                                                   that this Honorable Court enter judgment in their favor and against Defendants,

                                                                                                                                                   jointly and severally, in an amount in excess of One Hundred Million Dollars

                                                                                                                                                   ($100,000,000.00), together with interest, costs and attorneys’ fees, as well as

                                                                                                                                                   punitive and/or exemplary damages.




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                                                                                                                                                                                Respectfully submitted,

                                                                                                                                                                                /s/Geoffrey N. Fieger
                                                                                                                                                                                GEOFFREY N. FIEGER (P30441)
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                                                                                                                                                                                JAMES J. HARRINGTON (P65351)
                                                                                                                                                   Dated: December 9, 2021      ROBERT G. KAMENEC (P35283)
• A PROFESSIONAL CORPORATION




                                                                                                                                                                                NORA Y. HANNA (P80067)
                                                                                                                                                                                MILICA FILIPOVIC (P80189)
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                                                                                                                                                                      UNITED STATES DISTRICT COURT
                                                                                                                                                                      EASTERN DISTRICT OF MICHIGAN
                                                                                                                                                                           SOUTHERN DIVISION
                                                                                                                                                                          _______________________
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                                                                                                                                                   JEFFREY FRANZ and BRANDI FRANZ, as
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                                                                                                                                                   NEXT FRIEND For RILEY FRANZ, a Minor,
                                                                                                                                                   and JEFFREY FRANZ and BRANDI FRANZ,
                                                                                                                                                   as NEXT FRIEND For BELLA FRANZ, a
                                                                                                                                                   Minor,
                                                                                                                                                                                    Case No.:
                                                                                                                                                         Plaintiffs,                Hon.

                                                                                                                                                   Vs.

                                                                                                                                                   OXFORD COMMUNITY SCHOOL DISTRICT,
                                                                                                                                                   SUPERINTENDENT TIMOTHY THRONE,
                                                                                                                                                   PRINCIPAL STEVEN WOLF, DEAN OF
                                                                                                                                                   STUDENTS RYAN MOORE, COUNSELOR
FIEGER, FIEGER, KENNEY & HARRINGTON, P.C.




                                                                                                                                                   #1, COUNSELOR #2, STAFF MEMBER,
                                                                                                                                                   TEACHER #1 and TEACHER #2
                                                                                                                                                   In their Individual Capacity,

                                                                                                                                                       Defendants.
                                                                                                                                                   GEOFFREY N. FIEGER (P30441)
                                                                                                                                                   JAMES J. HARRINGTON (P65351)
                                                                                                                                                   ROBERT G. KAMENEC (P35283)
                                                                                                                                                   NORA Y. HANNA (P80067)
                                                                                                                                                   MILICA FILIPOVIC (P80189)
                                                                                                                                                   Fieger, Fieger, Kenney & Harrington, P.C.
                                                                                                                                                   Attorneys for Plaintiffs
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                                                                                                                                                   m.filipovic@fiegerlaw.com
                                                                                                                                                                          DEMAND FOR TRIAL BY JURY
                                                                                                                                                                                           45
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                                                                                                                                                         NOW COME Plaintiffs, JEFFREY FRANZ and BRANDI FRANZ, as

                                                                                                                                                   NEXT FRIENDS OF RILEY FRANZ, a MINOR, and BELLA FRANZ, a
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                                                                                                                                                   MINOR, by and through their attorneys, FIEGER, FIEGER, KENNEY &
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                                                                                                                                                   HARRINGTON, P.C., hereby demands a trial by jury in the above-captioned

                                                                                                                                                   matter.

                                                                                                                                                                                Respectfully submitted,

                                                                                                                                                                                /s/Geoffrey N. Fieger
                                                                                                                                                                                GEOFFREY N. FIEGER (P30441)
                                                                                                                                                                                JAMES J. HARRINGTON (P65351)
                                                                                                                                                   Dated: December 9, 2021      ROBERT G. KAMENEC (P35283)
                                                                                                                                                                                NORA Y. HANNA (P80067)
                                                                                                                                                                                MILICA FILIPOVIC (P80189)
                                                                                                                                                                                Fieger, Fieger, Kenney & Harrington, P.C.
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